                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                    )
 et al.,                                         )
                                                 )
               Plaintiffs and                    )
               Counterclaim Defendants,          )
                                                 )
 v.                                              )         Case No. 4:16-cv-02163
                                                 )
 PEOPLE FOR THE ETHICAL                          )
 TREATMENT OF ANIMALS, INC., et al.,             )
                                                 )
               Defendants and                    )
               Counterclaim Plaintiffs.          )

      COUNTERCLAIM PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
          THEIR MOTION FOR SUMMARY JUDGMENT AGAINST
            COUNTERCLAIM DEFENDANT ANDREW SAWYER
       Counterclaim Plaintiffs, People for the Ethical Treatment of Animals, Inc. and Angela

Scott (together, “Plaintiffs”), submit this memorandum in support of their motion for summary

judgment against Counterclaim Defendant Andrew Sawyer (“Sawyer”).

I.     PROCEDURAL BACKGROUND                     AND     OVERVIEW         OF    UNDISPUTED
       MATERIAL FACTS

       Plaintiffs challenge Sawyer’s unlawful “taking” of a chimpanzee named Joey, pursuant to

the Endangered Species Act (“ESA”), 16 U.S.C. §§ 1531 and 1544, and its implementing

regulations. From approximately 2013 until December 2016, Sawyer boarded Joey at facilities

operated by Connie Braun Casey (“Casey”), also known as the Missouri Primate Foundation

(“MPF”). Statement of Uncontroverted Material Facts (“SOF”) ¶ 2. In November 2016, Plaintiffs

notified Sawyer of their intent to sue, pursuant to the requirement under the ESA, 16 U.S.C.

§ 1540(g) (“Notice”). SOF ¶ 4. From this Notice, Sawyer understood that Plaintiffs intended to

seek a judicial determination that Joey was held under conditions that violated the ESA. SOF ¶ 5.
To preclude Plaintiffs from accessing potentially incriminating evidence, Sawyer removed Joey to

an unknown location. SOF ¶ 7.

       During discovery, Sawyer invoked his Fifth Amendment privilege against self-

incrimination and refused to answer discovery requests or divulge Joey’s location. ECF No. 132

at 5. The Court therefore agreed to draw certain adverse factual inferences against Sawyer. Id. at

6-7. These inferences, together with ample additional evidence in the record, establish that the

conditions in which Joey was held failed to meet the minimum basic needs appropriate for his

species, fell below acceptable levels of care, and significantly impaired Joey’s normal behavior

patterns, causing a range of injuries and harm, and a likelihood of future physical and

psychological harm if these conditions are not abated. See, e.g., SOF ¶¶ 130, 131, 132, 135-137,

223-224, 229-230, 232, 23-235; and see infra at pp. 5-14 (detailing Joey’s conditions and harms

caused thereby).

II.    LEGAL FRAMEWORK

       A. Standard for Granting Summary Judgment

       Summary judgment is proper “if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Hill v. Walker, 737 F.3d 1209, 1216 (8th Cir. 2013). The movant “bears the initial

responsibility of informing the district court of the basis for its motion” and must identify “those

portions of [the record] … which it believes demonstrate the absence of a genuine issue of material

fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). If the movant does so, the non-movant

must respond by submitting evidentiary materials that set out “specific facts showing that there is

a genuine issue for trial.” Id. at 324 (quotation marks omitted).

       Under Local Rule 7-4.01(E), “all matters set forth in the movant’s statement of facts are

deemed admitted for the purposes of a summary judgment motion unless specifically contravened


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by the opposing party.” Jett v. Interface Sec. Sys., No. 4:17 CV 2864 CDP, 2019 WL 480020, at

*2 (E.D. Mo. Feb. 7, 2019). If the non-movant fails to contravene the movant’s material facts, “the

facts are considered undisputed.” Id. The fact that non-movants “are not in a position to file

affidavits opposing [a] summary judgment motion because they repeatedly have invoked

their Fifth Amendment privilege in response to [movants’] discovery requests does not save them

from having summary judgment entered against them.” Royal Am. Managers, Inc. v. Int'l Surplus

Lines Ins. Co., 760 F. Supp. 788, 792 (W.D. Mo. 1991).

       B. Overview of The Endangered Species Act

       Captive chimpanzees are deemed endangered pursuant to the ESA. 50 C.F.R. § 17.11(h);

80 Fed. Reg. 34499 (June 16, 2015). Under the ESA, it is unlawful to “take” an endangered species,

16 U.S.C. § 1538(a)(1)(B), or to “possess” any endangered species that has been unlawfully taken,

id. § 1538(a)(1)(D). “Take” is defined to include “harm” and “harass,” neither of which is defined

by statute. Id. § 1532(19). As the Supreme Court explained in Babbitt v. Sweet Home Chapter of

Communities for a Great Or., these terms must therefore be construed in a way that effectuates the

“broad purpose of the ESA.” 515 U.S. 687, 698 (1995); see also S. Rep. No. 307, 93rd Cong., 1st

Sess., p. 7 (1973) (“[T]ake” should be defined “in the broadest possible manner to include every

conceivable way in which a person can ‘take’ or attempt to ‘take’ any fish or wildlife.”).

       The regulations promulgated under ESA define “harm” as “an act which actually kills or

injures wildlife,” including “by significantly impairing essential behavioral patterns, including

breeding, feeding or sheltering.” 50 C.F.R. § 17.3. This definition does not specify that the injury

must be physical, and “[i]n the absence of statutory definitions, [courts] turn to the ordinary

meaning of the statutory terms as derived from a dictionary and consider the context of the statute

in which the language appears.” City of Jefferson City, Mo. v. Cingular Wireless, LLC, 531 F.3d

595, 606 (8th Cir. 2008) (citing Missouri ex rel. Burns v. Whittington, 219 S.W.3d 224, 225


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(Mo.2007) (en banc)). Merriam-Webster Online Dictionary defines “harm” as “physical or mental

damage,” and defines “injury” as “an act that damages or hurts,” neither of which limits an injury

to a physical or bodily injury. Accordingly, a mental or psychological injury may constitute

“harm.”

       “Harass” is defined to include an “intentional or negligent act or omission which creates

the likelihood of injury to wildlife by annoying it to such an extent as to significantly disrupt

normal behavioral patterns which include, but are not limited to, breeding, feeding, or sheltering.”

Id. For captive animals, the Fish and Wildlife Service (“FWS”) exempts from the definition of

“harass” (but not from the definition of “harm”1) “[1] generally accepted … [2] animal husbandry

practices [3] that meet or exceed the minimum standards for facilities and care under the Animal

Welfare Act [(AWA)] … [4] when such practices … are not likely to result in injury to the

wildlife.” Id. The FWS has made clear that despite this exemption, “Obviously, maintaining

animals in inadequate, unsafe or unsanitary conditions, feeding an improper or unhealthful diet,

and physical mistreatment constitute harassment ….” 58 Fed. Reg. 32632, 32637 (June 11, 1993).

       Plaintiffs’ Counterclaim details how the conditions in which Joey was held constitute a

“take” in violation of the ESA. See ECF No. 23, Answer to Count I and Counterclaim for

Declaratory and Injunctive Relief (“Counterclaim”). Among other things, Plaintiffs allege that

Joey is subject to an unlawful “take” because Sawyer failed (and fails) to meet Joey’s fundamental

social, physical, and psychological needs, id. ¶¶ 62-73, 75-92, 95, 97-105; confines him to a

dangerous and unsanitary environment, id. ¶¶ 106-19; restricts him to a dangerously unhealthy

diet, id. ¶¶ 120-28; and fails to provide him with adequate preventative and emergency veterinary




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 “The definition of harm contains no similar exclusion.” Graham v. San Antonio Zoological Soc’y,
261 F. Supp. 3d 711, 739 (W.D. Tex. 2017).


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care, id. ¶¶ 129-33. Plaintiffs allege that these actions cause Joey serious physical and

psychological injury, id. ¶¶ 105, 119, 128, 133, and that Sawyer otherwise failed to comply with

even minimal animal-husbandry requirements, id. ¶¶ 43, 112-115. Plaintiffs allege that these

deficiencies and omissions constitute “harm” and “harassment” of Joey in violation of the ESA’s

“take” prohibition by causing Joey psychological harm, preventing him from carrying out his

natural behaviors, and exposing him to a significant risk of physical illness and injury. Id. ¶ 4. In

denying Sawyer’s motion to dismiss, the Court has already determined that these

allegations—if proven true at trial—establish that Sawyer’s conduct constitutes an unlawful

“take” under the ESA, entitling Plaintiffs to relief. ECF No. 56 at 10-11. For the reasons

demonstrated below, no trial will be necessary, however, because those facts are indeed true and

undisputed. Summary judgment should therefore be entered in favor of Plaintiffs and against

Sawyer.

III.   ARGUMENT

       A. Sawyer Harms and Harasses Joey By Holding Him In Isolation, Failing to Meet
          His Fundamental Social Needs

       There is no genuine dispute that Sawyer failed (and fails) to meet Joey’s fundamental social

needs by housing him in isolation, thereby causing harm and the likelihood of compounded future

harm if this condition is not abated: In the wild, chimpanzees engage in social interactions

throughout life, and social interaction and stimulation are essential for a chimpanzee’s

development, health, and wellbeing. SOF ¶ 13. Chimpanzees are rarely by themselves in the wild,

and male chimpanzees appear especially social. SOF ¶ 14. Given the highly social nature of

chimpanzees, SOF ¶ 26, social interactions are crucial to chimpanzee well-being and the adverse

effects of social isolation are well known, SOF ¶¶ 16-17. These harmful consequences of housing

a chimpanzee individually will likely be long-lasting. SOF ¶ 26; see also SOF ¶¶ 17, 19-24



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(summarizing harmful effects of inadequate social housing). Every available standard regarding

chimpanzee care mandates that chimpanzees be housed in an adequate social group unless there

exists a documented, veterinarian-mandated medical or behavioral reason why temporary isolation

is necessary. SOF ¶ 25; see also SOF ¶¶ 28, 29. During all relevant times, Joey’s conditions fell

below this standard. While at MPF, Joey was housed in an enclosure by himself and did not have

an adequate opportunity to engage in social relations with other chimpanzees. SOF ¶¶ 30, 32.

Presently, Joey is still not held in an adequate social group and still does not have an adequate

opportunity to engage in social relations with other chimpanzees. SOF ¶¶ 33, 34.

       The failure to house Joey with an appropriate social group has caused Joey wide-ranging

harm, including psychological, emotional, and physical injury, and subjects him to a continuing

likelihood of injury. SOF ¶¶ 37-40, 48. The solitary housing in which Joey has been, and is being,

kept, creates (and created) the likelihood of injury to Joey by significantly disrupting Joey’s normal

behavioral repertoire in a manner likely to result in psychological injury. SOF ¶ 41. It is also likely

to result in future harms by disrupting Joey’s cognitive and behavioral development, thus limiting

his ability to develop critical psychological functioning to maintain social relationships. SOF ¶ 42;

see also SOF ¶¶ 43-46. If Joey remains physically isolated from other chimpanzees, he will never

learn how to engage in species-specific behaviors that are essential for his psychological and

physiological wellbeing.2 SOF ¶ 47. These harmful effects will be further exacerbated, if they




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 A marker of wellbeing in chimpanzees is the manifesting of species-typical behaviors. SOF ¶ 122.
For chimpanzees, foraging, nest-building, climbing, brachiating, playing, tool use, and socializing
are all essential species-typical behaviors. SOF ¶¶ 123, 124, 125, 126, 127, 128, 129. When a
chimpanzee is in a deprived environment with insufficient social, structural, and object
enrichment, such behaviors become less frequent and are replaced by stereotypies and other
abnormal, often harmful, behaviors indicative of poor welfare and stress. SOF ¶¶ 130, 131, 132;
USDA Report, § III.


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remain unabated. SOF ¶ 49. The longer Joey’s social isolation and solitary housing persist, the

more difficult rehabilitation and resocialization will be. SOF ¶ 50.

       Nor is Joey’s housing AWA-complaint, 9 C.F.R. § 3.81(a), as the U.S. Department of

Agriculture (USDA) recognizes the harmful effects of social isolation. Under the heading

“Detrimental effects of single caging,” the USDA notes in its Final Report on Environmental

Enhancement to Promote the Psychological Well-Being of Nonhuman Primates (“USDA Report”)

that “[m]any authors have described the pronounced association between abnormal behaviors

and/or physiological disturbance and single cage housing.” USDA Report, § IV.A.3.a (identified

at SOF ¶¶ 237-238, attached as Exhibit A). It further acknowledges that “[s]ocial interactions are

considered to be one of the most important factors influencing the psychological well-being of

most nonhuman primates,” id. § IV.A.1, and that “even one or two conspecifics are not sufficient

to meet the extraordinary social needs of chimps in stimulus-restricted environments,” id.

§ IV.A.6. By keeping Joey in isolation and failing to meet his fundamental social needs, Sawyer

therefore harmed and harassed Joey, in violation of the ESA.

       Under closely analogous factual circumstances, the district court in Kuehl v. Sellner, 161

F. Supp. 3d 678, 710–11 (N.D. Iowa 2016), aff'd, 887 F.3d 845 (8th Cir. 2018), held that keeping

a protected lemur in social isolation “constitutes ‘harassment’ and, therefore, a ‘taking’ within the

meaning of the [ESA].” Id. There, as here, the evidence showed that the species at issue was highly

social and had a high level of cognitive ability, and that therefore, keeping the primate without

adequate ability to socialize with other conspecifics caused suffering and harm. See id.; see also

Kuehl v. Sellner, 887 F.3d 845, 852 (8th Cir. 2018) (affirming district court’s finding that that

lemur, kept in social isolation, was “taken” within the meaning of the ESA). Therefore, summary

judgment against Sawyer is appropriate.




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       B. Sawyer Harms and Harasses Joey By Holding Him in a Deprived Environment,
          Failing to Meet His Fundamental Psychological Needs

       In addition to the psychological harm caused by being housed in isolation, there is no

genuine dispute that Joey’s fundamental psychological needs were, and are, not met in several

other respects, and that this causes or compounds the harm to Joey:

       In 1985, the AWA was amended to mandate the promotion of the psychological well-being

of primates in captivity. Food Security Act of 1985, Pub.L. No. 99-198, § 1752, 99 Stat. 1645

(1985) (codified as amended at 7 U.S.C. § 2143(a)(2)(B)). The concept of “psychological well-

being” has been recognized to be a mental state that is distinct from an animal’s environment,

behavioral profile, and physiologic state. SOF ¶ 87. Psychological well-being entails that the

animal is able to cope with day-to-day changes in the environment and does not experience chronic

distress or engage in self-injury. SOF ¶ 89. Beyond appropriate social housing, a program of

environmental enrichment is critical for captive chimpanzees to provide essential cognitive and

physical stimulation, opportunities for psychological development, and opportunities to conduct

species-typical behaviors. SOF ¶ 82; see also SOF ¶¶ 81, 83, 88, 92.

       The USDA requires a plan and implementation of the plan, and it must be in accordance

with accepted professional standards. 9 C.F.R. § 3.81; SOF ¶ 91. Because of its importance,

environmental enrichment is one of the aspects of chimpanzee care that must be routinely reviewed

by a veterinarian under the AWA. 9 C.F.R. § 3.81; SOF ¶ 94. When chimpanzees are kept under

inadequate environmental conditions, they are subject to psychological harms including suffering

from boredom, developing stereotypies (abnormal, repetitive, seemingly meaningless behaviors)

and/or self-injurious behaviors, and becoming increasingly aggressive. SOF ¶ 95.

       During the time Joey was at MPF, the manner in which he was kept failed to meet his basic

psychological needs. SOF ¶¶ 96, 101. The enrichment he received at MPF fell far below the



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required minimum standards, as it did not include novelty, variety, or diversity. SOF ¶ 98; see also

SOF ¶¶ 100-103, 106-112; USDA Report § III.E, G. Presently, the manner in which Joey is being

held also fails to meet his basic psychological needs and he does not receive adequate enrichment.

SOF ¶¶ 97, 104, 105. This has harmed, and continues to harm, Joey’s psychological and physical

well-being. SOF ¶ 115.

       Among other things, the deprived conditions in which Joey is kept cause Joey harm by

failing to provide the mental stimulation required for this cognitively complex species. SOF ¶ 113.

It also creates the likelihood of harm by significantly disrupting Joey’s normal behavioral

repertoire. SOF ¶ 114. Similar to a neglected child, Joey likely developed cognitive deficits by

spending his formative years in a mostly barren and unstimulating environment. SOF ¶¶ 116-117;

see also SOF ¶ 118; USDA Report, § II.D. (stating that “restricted social environments during

development” is “known to result in aberrant behavior that may persist into adulthood or be

expressed long after infancy”).

       For these additional reasons, by keeping Joey in a deprived environment and by failing to

meet his fundamental psychological needs, Sawyer harms and harasses Joey in violation of the

ESA. The decision in Kuehl is again instructive here. Similar to the flawed environmental plan at

Casey’s facility, the plan at the facility in Kuehl was inadequate and, “[e]ven with the limited plan,

however, there is no evidence that [the facility] routinely followed the plan, and there is no

evidence that they properly documented their implementation of the enrichment plan.” Kuehl, 116

F. Supp.3d at 711-712. There, as here, the “failure to ‘develop, document, and follow an

appropriate plan for environmental enhancement adequate to promote psychological well-being’

for [the animal] significantly disrupts their normal behavioral patterns and, therefore, constitutes




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‘harassment’ and ‘taking’ within the meaning of the [ESA].” Id. For this additional reason,

summary judgment against Sawyer is appropriate.

       C. Sawyer Harms and Harasses Joey By Failing to Provide Joey With Any
          Veterinary Care

       There is no genuine dispute that Joey has been deprived of appropriate veterinary care, and

that this harms Joey. Proper veterinary care is essential to ensuring the well-being of animals in

captivity, as well as preventing their untimely deaths. SOF ¶ 139. Unless a facility has a full time

veterinarian on the premises, it is the responsibility of the staff to ensure that the primates’ basic

veterinary care needs are met in a timely and appropriate manner. SOF ¶ 140; see also SOF ¶¶ 141,

142, 145, 146. Preventive care is especially important for chimpanzees in captivity, and it is legally

mandated by the AWA, 9 C.F.R. § 2.40(b)(2). SOF ¶¶ 143, 144. All published standards require a

written veterinary care program for captive chimpanzees, overseen by a veterinarian with training

or experience with the species. SOF ¶ 147. In addition to standard health care needs common to

all captive chimpanzees, Joey requires additional care, because he reportedly had (and has) special

needs due to a history of seizures and severe—potentially fatal—allergies. This makes it even more

imperative that Joey have an effective program of veterinary care. SOF ¶ 148; see also SOF ¶¶ 149,

152, 153, 156. Furthermore, the initial symptoms that led to Joey’s supposed food allergy diagnosis

could have other causes which, if not diagnosed, are likely to be neglected and to worsen. SOF

¶ 154; see also SOF ¶ 155.

       During the time Joey was at MPF, he was not provided with any appropriate veterinary

care. SOF ¶ 150; see also SOF ¶¶ 151, 158. Currently, Joey is still not provided with preventative

or other appropriate veterinary care. SOF ¶ 159. The failure to provide Joey with adequate

veterinary care has subjected Joey, and continues to subject Joey, to a likelihood of injury and

likely has already actually injured him. SOF ¶ 160; see also SOF ¶ 161. Since Joey does not receive



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any veterinary care, including preventive care, illnesses will not be identified in their early stages

when they are more treatable—if at all. SOF ¶ 162; see also SOF ¶¶ 163-166 (identifying

additional significant risks due to lack of veterinary care). There is a very high likelihood of Joey

sustaining an illness or injury, including a life-threatening one, and there is no program to prevent

it or appropriately treat it. SOF ¶ 167. This failure to provide preventive or reactive veterinary care

falls below all generally accepted standards and can cause injury to and even result in the death of

chimpanzees. SOF ¶168.

       The failure to provide adequate (or, in the case of Joey, any) veterinary care, violates the

basic tenets of the ESA. “‘[I]f an exhibitor chooses to keep endangered species, it must assume the

obligation—and the cost—of providing such care.’” Kuehl, 887 F.3d at 853 (quoting and affirming

decision below). In Kuehl, the Eighth Circuit thus affirmed that a facility had injured, and thereby

harmed, endangered animals in violation of the ESA by “’fail[ing] to provide timely and

appropriate veterinary care.’” Id. This failure provides additional grounds for entering summary

judgment against Sawyer.

       D. Sawyer Harms and Harasses Joey By Holding Him Without Adequate or
          Appropriate Space, Failing to Meet His Fundamental Physical Needs

       There is no genuine dispute that Joey’s fundamental physical needs were, and are, not met,

by confining him in a small and barren enclosure, thereby causing him harm.

       A key factor bearing on a chimpanzee’s wellbeing is the physical space he occupies on a

daily basis. SOF ¶ 51; see also SOF ¶¶ 52, 53, 54. Chimpanzees are an arboreal species, meaning

that while they walk on the ground, they are natural climbers and spend more time in the trees.

SOF ¶ 55; see also SOF ¶¶ 56. Chimpanzees in captivity therefore need physical furnishings and

conditions to allow for species-typical behaviors such as climbing and building nests off the

ground. When such furnishings and conditions are lacking, captive chimpanzees will likely suffer



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physiological harm. SOF ¶ 57. The AWA mandates furnishing captive primates’ physical

environment with items that allow them to express such “species-typical” activities in order to

safeguard their welfare. 9 C.F.R. § 3.81.

       At MPF, Joey’s minimum needs for space were not met, and at his current location, Joey

still is not provided with adequate and appropriate space. SOF ¶¶ 64, 65. During all relevant times,

Joey’s physical environment failed to meet his basic physiological needs. SOF ¶¶ 66, 67; see also

SOF ¶¶ 68, 69, 71. Because Joey lacked sufficient access to spaces off the floor (e.g., platforms,

ledges, ropes), he lacked adequate opportunities to express species-typical behaviors of climbing,

clinging, brachiating, jumping, leaping, and hanging, which are essential to promote his

physiological health. SOF ¶ 70; see also SOF ¶ 75. This persistent failure to provide Joey with

adequate and appropriate physical space creates the likelihood of harm by disrupting Joey’s normal

behavioral repertoire. SOF ¶ 74. It also is likely to result in future harms because of the limitations

it puts on Joey’s physical development. SOF ¶ 76. A growing chimpanzee like Joey needs adequate

physiological stimulation for proper development of muscles and bone strength. SOF ¶ 77.

Depriving Joey of sufficient appropriate opportunities for species-typical locomotion and postural

behaviors put (and puts) Joey at risk of suffering lasting deficits. SOF ¶ 78; see also SOF ¶ 79.

Even if this physiological damage has not yet caused irreversible harm to Joey, it will likely do so

in the future if it continues unabated. SOF ¶ 80; see also 58 Fed. Reg. at 32637 (“Obviously,

maintaining animals in inadequate … conditions … constitute[s] harassment”).

       E. Sawyer Harms and Harasses Joey By Confining Joey To an Unsanitary and
          Dangerous Environment

       There is also no genuine dispute that Joey has been, and is, confined to a harmful unsanitary

environment. A key part of ensuring physical and psychological well-being is proper sanitation of

the space in which chimpanzees are kept, where sanitation encompasses both cleaning (removing



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excessive amounts of dirt and debris) and disinfecting (removing unacceptable concentrations of

microorganism). SOF ¶ 169; see also SOF ¶ 170. Poor sanitation increases the likelihood of

disease, parasites, and pests, such as infestations by rodents and insects, who are also carriers of

disease. SOF ¶ 172; see also SOF ¶¶ 173-175. The likelihood that a chimpanzee who is kept in

unsanitary conditions will get sick or even die is compounded where (as here) the animal is not

routinely screened for parasites, given no vaccines, and lacks any program of preventive veterinary

care. SOF ¶ 176.

       At MPF and currently, Joey is held in unsanitary conditions. SOF ¶ ¶ 182, 183. Joey’s

environment at MPF was unsanitary in numerous ways, which are each associated with potential

harm to his psychological and physical well-being. SOF ¶ 184; see also SOF ¶¶ 185-192. The

failure to provide Joey with a safe and sanitary environment has subjected Joey, and continues to

subject Joey, to a further likelihood of injury. SOF ¶ 193; see also SOF ¶ 194. Among other things,

food waste build-up can lead to skin irritation due to prolonged contact, potentially causing

infected wounds; irritation of the respiratory tract from the emitted fumes; increased risk of illness

spread by rodents or insects; providing a medium for infectious organisms to grow, increasing

likelihood of disease; and worsening physical inactivity, as chimpanzees are likely to try to avoid

stepping in rotting food. SOF ¶ 195. In addition, rodents and their feces and urine can introduce a

host of viral and bacterial diseases to nonhuman primates, including chimpanzees, most of which

can be fatal if not diagnosed and treated promptly. SOF ¶ 196; see also SOF ¶¶ 197, 198.

       Due to his unsanitary conditions of confinement, Joey is at risk of physical injury, including

infectious and parasitic disease, allergic/irritant respiratory disease, food-borne illness, physical

injury, and death—and the longer Joey remains in an unsanitary or unsafe environment, the greater

likelihood of injury. SOF ¶¶ 199-200. In sum, Sawyer harms and harasses Joey by holding him in




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a small, barren and unsanitary enclosure that fails to meet his fundamental physical needs.

“Obviously, maintaining animals in … unsafe or unsanitary conditions … constitute[s] harassment

because such conditions might create the likelihood of injury or sickness of an animal.” 58 Fed.

Reg. at 32637. Consistent with this “obvious” fact noted by the USDA, the Eighth Circuit has

affirmed a district’ court’s ruling that defendants had “harassed” lemurs and tigers by not providing

the sanitary conditions specified in 9 C.F.R. § 3.84(a), which requires that ‘[e]xcreta and food

waste must be removed from inside each indoor primary enclosure daily.’” 887 F.3d at 853-54.

The inadequate physical conditions in which Joey has been, and currently is, kept thus provide

further grounds for entering summary judgment against Sawyer.

       F. Sawyer Harms and Harasses Joey By Restricting Joey to an Unhealthy and
          Improper Dietary Regime

       There also is no genuine dispute that Joey has been, and is, restricted to a dangerously

unhealthy diet, which is harmful to Joey: A nutritionally balanced diet is essential to preserving

and promoting physical health of captive chimpanzees. SOF ¶ 204; see also SOF ¶ 205. The diet

of captive chimpanzees also plays an essential role in providing opportunities to engage in natural

behaviors, such as foraging, problem solving, and manipulation of food items, and is therefore

considered critical enrichment and key to ensuring their psychological well-being. SOF ¶ 207.

       Joey was not and is not provided with a wholesome and nutritious diet, and Joey’s diet was

presented to him in an inadequate manner. SOF ¶¶ 210-214. Joey’s diet, and the manner in which

the diet and water were provided to him, also do not comport with generally accepted practices.

SOF ¶ 215. The diet that Joey was provided, and the manner in which it was provided, likely

injured him both physically and psychologically. SOF ¶ 217; see also SOF ¶ 218. Joey is likely to

experience (and may already have experienced) physical injury due to nutrient imbalances leading

to an increased risk of diabetes, cardiovascular disease, obesity, metabolic bone disease, and



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periodontal disease. SOF ¶ 221. Joey’s inadequate diet and nutrition is also likely to harm Joey in

the future if his diet and manner in which he is fed continues. SOF ¶ 219.

        Because Sawyer harms and harasses Joey by restricting him to an unhealthy and improper

dietary regime, summary judgment should be entered against Sawyer for this additional reason.

See 58 Fed. Reg. at 32637 (“Obviously, … feeding an improper or unhealthful diet … constitute[s]

harassment”).

IV.     CONCLUSION

        For all of the foregoing reasons, and based on all of the uncontroverted material facts

submitted concurrently herewith, Plaintiffs respectfully request that the Court grant summary

judgment their favor and against Sawyer, by finding that Sawyer has violated and continues to

violate the ESA and its implementing regulations, by unlawfully taking Joey, a federally protected

animal, 16 U.S.C. § 1538(a)(1)(B), (G); 50 C.F.R. §§ 17.11(h), 17.21(c), 17.31(a), and by

continuing to possess Joey who was unlawfully taken, 16 U.S.C. § 1538(a)(1)(D); 50 C.F.R.

§§ 17.11(h), 17.21(d), 17.31(a). Plaintiff requests an injunction terminating Sawyer’s ownership

and possessory rights with respect to Joey, and prohibiting Sawyer from owning or possessing

endangered or threatened animals in the future, and from otherwise violating the ESA. Plaintiffs

also request a hearing to address the appointment of a special master or guardian ad litem to

determine placement of Joey at an appropriate GFAS accredited sanctuary, consistent with his best

interests.



Dated: March 18, 2019                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on March 18, 2019, the foregoing Counterclaim Plaintiffs’ Memorandum in

Support of Their Motion for Summary Judgment Against Counterclaim Defendant Andrew

Sawyer was electronically filed with the Clerk of the Court using the CM/ECF system, by which

notification of such filing was electronically sent and served to the following:

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                                                      /s/ Jared S. Goodman




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